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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   -----------------------------------X
   UNITED STATES OF AMERICA,
                                                    ORDER ADOPTING IN PART
           -against-                                AND MODIFYING IN PART
                                                    REPORT AND
                                                    RECOMMENDATION
   COURTNEY DUPREE, THOMAS FOLEY, AND
   RODNEY WATTS,                                    10-CR-627 (KAM)

                       Defendants.
   -----------------------------------X

   MATSUMOTO, United States District Judge:

                                INTRODUCTION

                Defendants Courtney Dupree (“Dupree”), Thomas Foley

   (“Foley”) and Rodney Watts (“Watts”) (together, “defendants”)

   are charged together in three counts, Watts is charged in four

   counts, and Dupree is charged in all five counts of a five-

   count superseding indictment.      (See ECF No. 155, Superseding

   Indictment (“Superseding Indictment”).)         Count One charges all

   defendants with Conspiracy to Commit Bank, Mail and Wire Fraud

   in violation of 18 U.S.C. §§ 1349, 3551 et seq.           (Id. at

   ¶¶ 17-18.)    Count Two charges all defendants with Bank Fraud

   in violation of 18 U.S.C. §§ 1344, 2, 3551 et seq.            (Id. at

   ¶¶ 19-20.)    Count Three charges defendants Dupree and Watts

   with making a False Statement in violation of 18 U.S.C.

   §§ 1014, 2, 3551 et seq.     (Id. at ¶¶ 21-22.)       Count Four

   charges all defendants with making a False Statement by

   “knowingly and intentionally [making] a false statement and

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   report, and willfully overvalu[ing] property and security, for

   the purpose of influencing the action of Amalgamated Bank upon

   one or more loans . . .” in violation of 18 U.S.C. §§ 1014, 2,

   3551 et seq.     (Id. at ¶¶ 23-24.)      Count Five charges only

   defendant Dupree with an additional count of Bank Fraud, in

   violation of 18 U.S.C. §§ 1344, 2, 3551 et seq.            (Id. at

   ¶¶ 25-26.)

                Currently before the court is defendant Watts’

   request that funds in the amount of $980,000 seized by the

   United States from accounts at J.P. Morgan Chase Bank in the

   name of Unalite Southwest LLC (the “USW Chase accounts”) be

   released to fund his defense.      Familiarity with the facts and

   prior opinions of this court in this matter is presumed and

   only the background relevant to this motion is set forth

   below.   For the reasons set forth below, Magistrate Judge

   Azrack’s Report and Recommendation is respectfully adopted in

   part and modified in part.

                                 BACKGROUND

                On July 21, 2010, the government applied for seizure

   warrants for funds in Amalgamated Bank accounts held by GDC

   and its subsidiaries.     (ECF No. 57, Seizure Warrants dated

   July 21, 2010 (“7/21/10 Seizure Warrants”).)           In support of

   its application for seizure warrants, the government submitted

   several affidavits from Special Agent Gavin Shea.             After

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   providing a detailed description of defendants’ allegedly

   fraudulent activities, Special Agent Shea affirmed that there

   “is probable cause to believe that any and all funds on

   deposit in the accounts listed below and in Exhibit B to this

   affidavit (collectively, the “SUBJECT ACCOUNTS”) are subject

   to forfeiture pursuant to Title 18, United States Code,

   sections 981(a)(1)(C), 981(a)(1)(D), 982(a)(2), and Title 28,

   United States Code section 2461, as representing property

   which constitutes or is derived from proceeds traceable to a

   conspiracy to commit bank fraud, mail fraud, and wire fraud

   contrary to Title 18, United States Code, Sections 1344 (bank

   fraud), 1341 (mail fraud), and 1343 (wire fraud),

   respectively, all specified unlawful activities.”            (ECF No.

   55, Affidavit in Support of Application for Search and Seizure

   Warrants dated July 21, 2010 (“Shea Aff.”) at 2.)

              In addition to his Affidavit in Support of

   Application for Search and Seizure Warrants dated July 21,

   2010, Agent Shea also submitted additional affidavits in

   support of the seizure warrants that were ultimately issued on

   July 23 and July 27, 2010 to seize funds in GDC’s and its

   subsidiaries’ accounts at Amalgamated Bank and J.P. Morgan

   Chase Bank.   (See Affidavit in Support of Application for

   Seizure Warrants dated July 23, 2010 (“7/23/10 Shea Seizure

   Aff.”); Affidavit in Support of Application for Seizure

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   Warrants dated July 27, 2010 (“7/27/10 Shea Seizure Aff.”).)

   In these affidavits, Special Agent Shea provided the source of

   his information and his grounds for believing probable cause

   existed to seize the funds, including setting forth details of

   the scheme to defraud and the fraudulent financial statements.

   (Shea Aff. at ¶ 7; see also 7/23/10 and 7/27/10 Shea Seizure

   Affs.)    Following the government’s execution of the seizure

   warrants on July 23, 2010, and in further support of probable

   cause, Special Agent Shea affirmed that “[a]fter being placed

   under arrest, PATELLO, [GDC’s] controller and chief financial

   officer (“CFO”), confirmed the statements of the CS-1

   [Confidential Source] and stated that the fraud proceeds were

   initially deposited into an account held by GDC and then

   dispersed throughout the Subject Accounts as needed to run GDC

   and its subsidiaries.     PATELLO further stated that the

   Additional Subject Accounts received fraud proceeds through

   the same process . . . .     Specifically, PATELLO stated that

   the money was distributed to all other accounts held at

   Amalgamated and Chase Banks including Unalite accounts in

   Texas.”   (7/23/10 and 7/27/10 Shea Seizure Affs. at ¶ 32.)

               Magistrate Judge Go signed two seizure warrants for

   accounts at Amalgamated and J.P. Morgan Chase Bank on July 21,

   2010, and limited the seizures to $21,000,000.            (7/21/10

   Seizure Warrants.)    Pursuant to these seizure warrants,

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   sixteen bank accounts at Amalgamated were seized on July 23,

   2010.   (7/23/10 Shea Seizure Aff. at ¶ 3.)         A second seizure

   warrant for five additional bank accounts at Amalgamated was

   signed by Magistrate Judge Reyes on July 23, 2010.            The

   government subsequently learned that additional bank accounts

   and one of the original subject accounts were held at J.P.

   Morgan Chase Bank rather than at Amalgamated Bank as listed in

   the warrant.    (7/27/10 Shea Seizure Aff. at ¶ 3.)

   Accordingly, on July 27, 2010, Magistrate Judge Reyes reissued

   the seizure warrant authorizing seizure of funds held at J.P.

   Morgan Chase Bank by Unalite Southwest LLC and Unalite NY, LLC

   (the “USW Chase accounts”).      (ECF No. 60, Seizure Warrant

   dated July 27, 2010.)     The funds in these accounts are the

   subject of the instant motion.

              On January 10, 2011, defendant Watts filed, inter

   alia, a motion pursuant to United States v. Monsanto, 924 F.2d

   1186 (2d Cir. 1991), to vacate the seizure of funds in the USW

   Chase accounts.    (ECF No. 89, Notice of Motion Opposing

   Government’s Unconstitutional and Unlawful Seizure and

   Restraint of Funds dated January 10, 2011.)

              On March 18, 2011, the court denied defendant Watts’

   motion, holding that notwithstanding Watts’ demonstrated

   financial need for the funds, the government had established

   probable cause to seize the funds based upon the sworn

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   statement of Agent Shea in which he recounted statements of

   two confidential informants, who were employed by GDC and who

   had knowledge of the scheme, that the fraud proceeds from

   Amalgamated were deposited into an Amalgamated account and

   disbursed amongst all of the subject accounts to be seized,

   and then used to run GDC and the subsidiary businesses.             (See

   generally ECF No. 133, Memorandum and Opinion dated March 18,

   2011.)

              On March 24, 2011, defendant Watts filed a motion

   for reconsideration of the court’s denial of his motion for a

   Monsanto hearing.    (ECF No. 143, Notice of Motion for

   Reconsideration and Re-Argument; ECF No. 143-1, Memorandum of

   Law in Support of Motion for Reconsideration or Re-Argument.)

   Defendant Watts attached to his motion bank records from the

   USW Chase accounts which purportedly showed that no proceeds

   from the Amalgamated loan were deposited into the accounts.

   (ECF No. 143, Exs. A and B.)      The government opposed defendant

   Watts’ motion, arguing that even if the seized funds in the

   USW Chase accounts were legitimate proceeds of the business,

   the funds are forfeitable because USW would not have obtained

   or retained the funds “but for” the criminal offense.             (ECF

   No. 164, Memorandum of Law in Opposition to Defendants’ Motion

   for Reconsideration or Re-Argument, at 9-10, citing, inter

   alia, United States v. Porcelli, 865 F.2d 1352 (2d Cir.

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   1989).)   Defendant Watts submitted a reply in further support

   of his motion to reconsider.      (ECF No. 168, Reply Memorandum

   of Law in Support of Motion for Reconsideration or Re-

   Argument.)

                On April 25, 2011, the court heard oral argument on

   defendant Watts’ motion to reconsider.        Upon extensive

   argument, the court granted in part defendant Watts’ motion

   for reconsideration and ordered:

                Based upon the Unalite accounts records at
                Chase Bank, which the court considered
                based on Watts’ representation that he
                only recently obtained access to the bank
                records, the court granted defendants’
                motion to the limited extent of granting
                defendant Watts a hearing pursuant to
                United States v. Monsanto, 924 F.2d 1186
                (2d Cir. 1991). The court denied
                defendants’ motion on all other grounds.
                The Monsanto hearing shall be limited to
                the narrow issue of whether the government
                can establish probable cause that the
                seized Unalite bank accounts at Chase Bank
                are forfeitable.

   (Minute Entry dated April 25, 2011.) In the same Minute Entry,

   the court referred the Monsanto hearing to Magistrate Judge

   Azrack.   (Id.)

                The government moved to have the Monsanto hearing

   conducted by affidavit, rather than by live testimony, and

   submitted an affidavit from Christopher Petrellese

   (“Petrellese”), a forensic accountant with the FBI, in support

   of its argument that there was probable cause to continue to

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   restrain the funds in the USW Chase accounts.             (ECF No. 184,

   Letter from the Government dated April 29, 2011 (“Govt.

   Letter”); ECF No. 184-1, Affidavit of Christopher Petrellese

   (“Petrellese Aff.”).)     The government reasserted its argument

   that “[b]ut for the fraudulently obtained loan proceeds used

   to pay USW employees, there simply would have been no payments

   by USW’s customers.”      (ECF No. 184, Govt. Letter at 2.)

   Defendant Watts did not object to the government’s

   presentation of direct evidence by affidavit, but requested

   that cross-examination proceed by live testimony.             (ECF No.

   185, Letter from Marion Bachrach, counsel to defendant Watts,

   dated April 29, 2011, at 1.)

              On May 12, 2011, Magistrate Judge Azrack issued a

   Scheduling Order setting the Monsanto hearing for May 13, 2011

   at 10:30 a.m.    (ECF No. 203, Scheduling Order as to Monsanto

   Hearing dated May 12, 2011.)      Specifically, Magistrate Judge

   Azrack ordered:

              I am satisfied that, through Federal
              Bureau of Investigation (“FBI”) forensic
              accountant Christopher Petrellese’s April
              28, 2011, affidavit, the government has
              met its burden of establishing probable
              cause to believe that the Unalite
              Southwest, LLC (“USW”) bank funds
              presently at issue are forfeitable. ECF
              No. 184, Ex. A; c.f. Transcript of
              Criminal Cause for Motion Hearing at 54.
              Therefore, this hearing will be strictly
              limited to a cross-examination by
              defendant Watts of Mr. Petrellese with

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               regard to the factual statements sworn to
               in his affidavit in support of the “but
               for” test advanced by the government. I
               find that, for the purposes of defendant
               Watts’ Monsanto hearing, the affidavits of
               Special Agent Gavin Shea in support of the
               original arrest and seizure warrants, and
               the tracing principles enunciated in
               United States v. Banco Cafetero, 797 F.2d
               1154 (2d Cir. 1986), are irrelevant.

   (Id.)    On May 13, 2011, Magistrate Judge Azrack presided over

   the Monsanto hearing, at which defendant Watts cross-examined

   Petrellese.   (ECF No. 213, Minute Entry dated May 13, 2011;

   Transcript of Monsanto Hearing Before the Honorable Joan M.

   Azrack, dated May 13, 2011 (“Tr.”).)        Thereafter, Magistrate

   Judge Azrack provided the parties with an opportunity to make

   post-hearing submissions, which they timely did.            (ECF No.

   217, Defendant Watts’ Post-Hearing Memorandum dated May 20,

   2011; ECF No. 236, Letter from the Government dated May 23,

   2011.)

               On June 2, 2011, Magistrate Judge Azrack issued a

   Report and Recommendation recommending, inter alia, that this

   court “find that defendant Watts has failed to establish that

   the government lacks probable cause to continue restraining

   the seized USW bank funds as property subject to forfeiture.”

   (ECF No. 248, Report and Recommendation dated June 2, 2011, at

   2 (“R&R”).)   Defendant Watts timely filed objections to the

   R&R and the government responded.        Fed. R. Crim. P. 59(b)(2);


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  (ECF No. 256, Defendant Watts’ Objections to Report and

  Recommendation of June 2, 2011 by Magistrate Judge Azrack

  (“Watts Obj.”); ECF No. 269, Letter from the Government dated

  July 7, 2011.)    The court heard oral argument on defendant

  Watts’ objections on July 11, 2011.         (Minute Entry dated July

  11, 2011.)


                  FACTS ESTABLISHED AT MONSANTO HEARING

               The following facts pertinent to Watts’ instant

  motion for reconsideration were established by the Petrellese

  affidavit or on cross-examination of Petrellese by defendant

  Watts and are not in dispute:

           Upon receipt of customer payments, Unalite Southwest
            deposited the payments into the USW Chase accounts.
            Between July 2009 and July 2010, approximately $3.5
            million dollars of customer payments were deposited
            into the USW Chase accounts. (Tr. at 4-5.) An
            additional deposit of approximately $1 million was made
            into the accounts after July 2010. (Tr. at 6-7.)

           Funds from the USW Chase accounts were then transferred
            into account number 151003272 held at Amalgamated Bank
            (the “Concentration Account”) (Petrellese Aff. at ¶¶ 5,
            8.)

           Pursuant to the loan and revolving credit agreement
            entered on August 29, 2008 between GDC subsidiaries JDC
            Lighting LLC, Unalite Electric and Lighting LLC and
            Hudson Bay Environments Group LLC (the “subsidiaries”)
            and Amalgamated Bank, the subsidiaries could borrow up
            to $21 million from Amalgamated Bank through a
            revolving credit loan and a term loan (“Agreement”),
            both of which loans were guaranteed by GDC.
            (Petrellese Aff. at ¶ 4.)



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           Loan proceeds from the Agreement were also deposited
            into the Concentration Account. (Petrellese Aff. at
            ¶ 5.)

           Loan proceeds from the Agreement accounted for
            approximately 20% of the funds in the Concentration
            Account. (Tr. at 29.)

           On occasion, funds from the Concentration Account were
            disbursed to account number 151005351 held at
            Amalgamated Bank in the name of Unalite Southwest (the
            “USW Payroll Account”). (Petrellese Aff. at ¶ 6.)
            Between July 1, 2009 and February 12, 2010,
            approximately $1,751,454.37 was distributed from the
            Concentration Account to the USW Payroll Account.
            (Id.) The USW Payroll account was used to pay the
            salaries of USW employees. (Id.)

           No funds were ever transferred from the Concentration
            Account to the USW Chase accounts. (Tr. at 14-15.)


                             STANDARD OF REVIEW

              To the extent that a party makes specific and timely

  objections to a magistrate’s findings, the court must apply a

  de novo standard of review.      Fed. R. Crim. P. 59(b)(3).          Upon

  such de novo review, the district court “may accept, reject,

  or modify the recommendation, receive further evidence, or

  resubmit the matter to the magistrate judge with

  instructions.”    Fed. R. Crim. P. 59(b)(3).


                                 DISCUSSION

              Defendant Watts’ objections to the R&R can be

  divided into two main categories: (1) that Magistrate Judge

  Azrack incorrectly placed the burden of proof at the Monsanto


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  hearing on defendant Watts rather than on the government; and

  (2) that the evidence presented by the government on direct

  and cross-examination did not satisfy its burden of proof to

  establish probable cause to continue to restrain the funds in

  the USW Chase accounts.      (Watts Obj. at 15.)        The government

  responds that Judge Azrack properly interpreted the evidence

  and the law and requests that the findings in the R&R be

  adopted.    (ECF No. 269, Govt. Letter dated July 7, 2011.)             The

  court discusses each objection in turn.

     A. Burden of Proof

              As the court found in its March 18 Order, in order

  to be entitled to a Monsanto hearing, the defendant must make

  a preliminary showing regarding the “lack of probable

  cause . . . as to . . . forfeitability of [seized] assets.”

  (ECF No. 133, Memorandum and Order dated March 18, 2011 at 53

  (citing Monsanto, 924 F.2d at 1194).)         Upon making such a

  showing, at the Monsanto hearing, the burden is on the

  government to establish probable cause to continue the seizure

  of funds.    See Monsanto, 924 F.2d at 1195 (“[T]he government

  need only establish probable cause as to the defendant’s guilt

  and the forfeitability of the specified assets.”); see also

  United States v. Hatfield, No. 06-CR-0550, 2010 U.S. Dist.

  LEXIS 39618, at *13-14 (E.D.N.Y. April 21, 2010) (holding that



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  the government must establish probable cause that the money it

  has restrained is forfeitable).

              Defendant Watts, in his motion to reconsider on

  March 24, 2011, presented to the court, for the first time,

  USW’s Chase bank records which indicated that no funds from

  the Amalgamated loan were ever transferred into the USW Chase

  accounts.    (See ECF No. 143, Exs. A, B.)        The government did

  not refute the evidence presented by Watts that the USW Chase

  accounts did not receive Amalgamated loan proceeds.

              The court granted in part defendant Watts’ motion to

  reconsider and found that defendant Watts had satisfied his

  prima facie burden of establishing a lack of probable cause as

  to forfeitability of the seized funds in the USW Chase

  accounts.    (See Minute Entry dated April 25, 2011 (“Based upon

  the Unalite accounts records at Chase Bank, which the court

  considered based on Watts’ representation that he only

  recently obtained access to the bank records, the court

  granted defendants’ motion to the limited extent of granting

  defendant Watts a hearing pursuant to United States v.

  Monsanto, 924 F.2d 1186 (2d Cir. 1991).”).)

              Thereafter, the government conceded that its two

  sources who had previously stated that Amalgamated loan

  proceeds were disbursed to GDC’s subsidiaries’ accounts,

  including the USW Chase accounts – and upon which the court

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  had relied in determining in its March 18 Order that there was

  probable cause to continue to seize the funds – were mistaken.

  (ECF No. 184, Letter from the Government dated April 29, 2011,

  at 6 n.4 (“The warrants dated July 23, 2010 and July 27, 2010

  state that the government was informed by two sources with

  knowledge of the defendant’s business that the all of the

  seized accounts received loan proceeds.          Upon review of the

  bank records it appears that while all of GDC’s subsidiaries

  received loan proceeds, including USW as detailed above, not

  every account held by the subsidiaries necessarily received

  loan proceeds.”); ECF No. 197, Govt. Letter dated May 11, 2011

  (“The government continues to rely on Agent Shea’s affidavits,

  but only for probable cause to believe that a crime was

  committed.    Agent Shea’s testimony is irrelevant to the

  traceability of the seized funds.”).)

               Once the court granted Watts’ request for a Monsanto

  hearing, it was the government’s burden to establish probable

  cause as to the defendant’s guilt and the forfeitability of

  the specified assets at the hearing.1         Magistrate Judge Azrack


        1
          Only at issue here was whether the government had established
  probable cause as to the forfeitability of the funds such that seizure may
  continue pending trial. The court previously found, and did not grant
  reconsideration, that the government had established probable cause as to
  defendant Watts’ commission of the offenses that provide a basis for
  forfeiture. (See Minute Entry dated April 25, 2011 (limiting the Monsanto
  hearing to “the narrow issue of whether the government can establish
  probable cause that the seized Unalite bank accounts at Chase Bank are
  forfeitable”).)


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  reviewed the Petrellese affidavit and found that it

  established probable cause as to the forfeitability of the

  funds in the USW Chase accounts.2           (ECF No. 203, Scheduling

  Order as to Monsanto Hearing dated May 12, 2011 (“I am

  satisfied that, through [FBI] forensic accountant Christopher

  Petrellese’s April 28, 2011, affidavit, the government has met

  its burden of establishing probable cause to believe that the

  Unalite Southwest, LLC (“USW”) bank funds presently at issue

  are forfeitable.”).        Specifically, Petrellese’s affidavit

  stated that loan proceeds were distributed to the subsidiaries

  through the Amalgamated Concentration Account.                (Petrellese

  Aff. at ¶ 5.)    Petrellese further affirmed that during the

  period between July 1, 2009 and February 12, 2010,

  approximately $11.5 million was disbursed under the terms of

  the Agreement to the Concentration Account.             (Id. at ¶ 6.)

  During the same time period, approximately $1.7 million was

  disbursed from the Concentration Account to the USW Payroll

  Account.   (Id.)    The USW Payroll Account was then used to pay

  the salaries of USW employees.        (Id.)     Further, Petrellese

        2
          The court finds nothing erroneous about Magistrate Judge Azrack’s
  decision to allow the government to present its case on direct examination
  by affidavit, rather than by live testimony. In fact, from the outset,
  defendant Watts had no objection to this procedure. (ECF No. 185, Letter
  from Marion Bachrach, counsel to defendant Watts, dated April 29, 2011, at
  1.) Moreover, although defendant Watts now complains that “The Magistrate
  Judge did not cite any case in support of her unusual determination that
  this procedure [to establish probable cause based on Petrellese’s affidavit
  before hearing cross-examination of the affiant] is permissible,” (Watts
  Obj. at 18) defendant Watts also cites no case law from this Circuit for
  his assertion that this procedure is impermissible.

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  testified that between June 2, 2009 and July 30, 2010, the USW

  Chase accounts were funded with approximately $3,492,780.97 of

  customer payments, approximately $2,743,390.33 of which was

  then transferred to the Concentration Account.              (Id. at ¶ 8.)

  Petrellese concluded that “upon [his] review of Bank records

  it appears that during the time periods discussed above, the

  payroll for USW was paid from the Concentration Account which

  had received over $11 million in loan proceeds.             The proceeds

  of USW were then used to pay operational expenses of USW, with

  the remainder deposited back into the Concentration Account.”

  (Id. at ¶ 9.)    Based upon the Petrellese Affidavit, Magistrate

  Judge Azrack found that the government had established

  probable cause that the funds are forfeitable.

             The purpose of Defendants Watts’ cross-examination,

  therefore, was to provide him with the opportunity to

  challenge the government’s showing of probable cause as found

  by the court, based on Petrellese’s affidavit.              Although

  Magistrate Judge Azrack phrased her recommendation in terms

  that suggested that the defendant had a burden to establish a

  lack of probable cause, (R&R at 9 (“defendant Watts has failed

  to establish that the government lacks probable cause to

  continue restraining the subject USW bank funds as property

  subject to forfeiture”)), this court notes that Magistrate

  Judge Azrack, upon finding probable cause as to the

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  forfeitability of the USW Chase funds, properly provided

  defendant Watts with the opportunity to cross-examine Mr.

  Petrellese and refute the finding of probable cause that the

  court had previously made.      Mr. Watts does not bear the burden

  to establish at the Monsanto hearing the lack of probable

  cause, notwithstanding the Second Circuit’s acknowledgement

  that “the Supreme Court’s rulings in Monsanto III and Caplin &

  Drysdale compel a defendant to establish lack of probable

  cause either as to guilt or forfeitability of restrained

  assets in order to obtain any relief from a pretrial restraint

  of allegedly forfeitable assets.”          Monsanto, 924 F.2d at 1194.

  Instead, as the Monsanto court further determined, in order to

  continue the government’s post-indictment restraint of funds,

  the government must “establish probable cause as to the

  defendant’s guilt and the forfeitability of the specified

  assets.”   Id. at 1195.     Accordingly, the court finds, upon de

  novo review, that once the government established probable

  cause as to the forfeitability of funds, defendant Watts was

  afforded the opportunity to cross-examine Mr. Petrellese and

  challenge the probable cause determination.           Indeed, at the

  commencement of the hearing, Judge Azrack explicitly stated,

  “As I indicated in my order of yesterday I’m satisfied the

  government met at least their burden with the affidavit, but

  I’m prepared to have the defense examine the accountant or put

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  on any evidence that they think would be illuminating for me

  before I make my report and recommendation to Judge Matsumoto

  on the issue.”    (Tr. at 2.)     Thus, Magistrate Judge Azrack did

  not place an improper burden on defendant Watts at the

  Monsanto hearing.

     B. Sufficiency of the Evidence in Support of Probable Cause

             Second, defendant Watts argues that Magistrate Judge

  Azrack erred in applying the “but for” test of forfeitability

  and finding that the funds seized from the USW Chase accounts

  satisfied the test.        (Watts Obj. at 19-22.)      Defendant Watts

  argues that the government cites only post-trial cases and

  does not provide any support for pretrial seizure of funds

  based on the “but for” test.        (Id. at 19.)      Defendant Watts

  further argues that the “government here utterly failed to

  show that any portion of the fraudulent loan proceeds was

  needed and actually used to pay the payroll expenses of USW

  employees.”    (Id. at 21.)

             In response, the government argues that “it defies

  logic to suppose that the government may use the ‘but for’

  test to achieve ultimate post-trial forfeiture under the more

  rigorous standard of preponderance of the evidence, but may

  not initially restrain those same assets under the less

  rigorous probable cause standard needed for pre-trial

  restraint.”    (ECF No. 269, Govt. Letter dated July 7, 2011, at

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  4.)    Further, the government argues that Magistrate Judge

  Azrack “properly found, based upon several reasons, that the

  customer payments would not have existed but for the

  fraudulently obtained loan proceeds . . . .            Specifically,

  Judge Azrack correctly found that the loan proceeds were

  necessary to continue operation of the business which

  generated the seized funds.       Judge Azrack further found the

  fraudulent scheme as a whole resulted in a loss of over $18

  million dollars based upon the interconnected nature of the

  scheme and use of the same concentration account to (a)

  receive the fraudulently obtained loan proceeds and (b) fund

  all of the companies controlled by the defendants.”               (Id.)

  (citations omitted).

              Regarding the issue of whether the “but for” test

  may be applied to pre-trial seizure of funds, the court agrees

  with both Magistrate Judge Azrack and the government that it

  may.   The Second Circuit, in United States v. Porcelli, held

  that, post-trial, the court may properly inquire whether the

  funds at issue would have been existed “but for [the]

  fraudulent scheme.”        865 F.2d at 1365; see also United States

  v. Grant, No. 05 Cr 1192, 2008 U.S. Dist. LEXIS 73479, at *5

  n.1 (S.D.N.Y. Sept. 25, 2008) (“Proceeds are property that a

  person would not have but for the criminal offense, and

  proceeds traceable to the offense may be forfeited.”).               That

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  the “but for” test can be used post-trial under the more

  rigorous standard of preponderance of the evidence persuades

  this court that the Second Circuit also would approve its

  application in the pre-trial phase under the less rigorous

  probable cause standard, and the court so holds that the “but

  for” test may be applied to the instant case.

               The court next turns to the issue of whether, as

  Magistrate Judge Azrack found and the government urges the

  court to affirm, the government presented sufficient evidence

  to support a probable cause finding that “but for” the loan

  proceeds, USW would have been unable to continue operations

  and generate the seized customer payments.           (ECF No. 269,

  Govt. Letter dated July 7, 2011, at 4 (“Judge Azrack correctly

  found that the loan proceeds were necessary to continue

  operation of the business which generated the seized

  funds.”).)    Magistrate Judge Azrack found:

               During the course of the alleged fraud,
               the USW Payroll Account received some $1.7
               million from the Concentration Account,
               which was then disbursed to USW employees
               and other USW expenses, thereby making the
               approximately $1 million in customer
               payments at issue possible. The fact that
               the balance of the Concentration Account
               several times fell to zero supports the
               inference that, but for the roughly 20% of
               the total balance that was composed of
               loan proceeds, there very well may not
               have been $1.7 million to transfer back to
               the USW Payroll Account. Accordingly,


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              there would not have been USW staff to
              earn the customer deposits at issue.

  (R&R at 8.)    Based on evidence that the Concentration Account

  disbursed money to the subsidiaries and that the balance of

  the Concentration Account “several times fell to zero,”

  Magistrate Judge Azrack found that the funds from the

  fraudulent loan were necessary to keep the subsidiaries

  afloat.   (Id.)   In other words, without the fraudulent loan

  proceeds which comprised approximately 20% of the funds in the

  Concentration Account, the subsidiaries, including USW, would

  not have received funds from the Concentration Account and

  would not have been able to generate customer payments that

  were then transferred to the Concentration Account.              Based on

  Petrellese’s testimony that the Concentration Account

  consisted of approximately 20% in loan proceeds and 80% in

  customer payments, each disbursement from the Concentration

  Account to the subsidiaries contained approximately 20% loan

  proceeds.    (Id.)

              Defendant Watts objects to this line of reasoning.

  Watts does not dispute that the USW Payroll Account received

  $1.7 million in funds from the Concentration Account,

  approximately 20% of which proportionally consisted of loan

  proceeds.    Watts argues, however, that because USW contributed

  approximately $4.5 million in legitimate customer payments to


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  the Concentration Account, USW could have existed completely

  independently from the rest of the subsidiaries and did not

  require any loan proceeds to survive.         (Watts Obj. at 21.)

             The court finds that Watts’ argument overlooks the

  reality of the way the executives at GDC set up the corporate

  finances of GDC and its subsidiaries.         Although GDC and its

  subsidiaries, including USW, could have operated

  independently, it is undisputed that the Concentration Account

  was set up at Amalgamated so that GDC executives could

  “concentrate all the cash of different subsidiary companies

  that are part of the [GDC] group.”         (Tr. at 12.)      It is also

  undisputed that USW contributed more to the Concentration

  Account than was disbursed from the Concentration Account to

  the USW Payroll Account, but the executives of GDC and the

  subsidiaries chose not to segregate the finances.             By setting

  up an accounting system in which all of the subsidiaries

  contributed to and received funds from a single Concentration

  Account, which was also funded with loan proceeds, USW

  entangled itself with the allegedly fraudulent loan proceeds.

  In addition, the CEO and CFO of GDC were able to move money

  between accounts held by GDC and its subsidiaries, including

  USW, on an “as needed” basis.       Further, although funds were

  not transferred from the Concentration Account to the USW

  Chase accounts, the USW Payroll Account did receive funds from

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  the Concentration Account.      (Tr. at 16.)      The court cannot

  ignore this corporate financial structure, or that the group

  of related subsidiaries, including USW, all shared in the

  Concentration Account and benefited from transfers of funds

  from that account, which included loan proceeds.             Accordingly,

  the court rejects defendant Watts’ argument that, in

  considering the forfeiture issues, USW should be treated as an

  entirely separate entity from the other subsidiaries and that

  “but for” the loan proceeds, it would have sustained itself

  financially.

             On the other hand, the court cannot agree with

  Magistrate Judge Azrack’s finding that the government

  established probable cause that the entire $980,000 in the USW

  Chase accounts is forfeitable.       Petrellese testified, and it

  is undisputed, that the Concentration Account consisted of

  approximately 20% loan proceeds.        (Tr. at 27.)        Accordingly,

  the $1,751,454.37 transferred from the Concentration Account

  to the USW Payroll Account proportionately consisted of 20%

  loan proceeds.    Thus, the court finds that, based on the

  current record, of the $1,751,454.37 transferred from the

  Concentration Account to the USW Payroll Account, the

  government has established probable cause that approximately

  $350,290.87, or 20% of the $1,751,454.37, is forfeitable.

  Consequently, of the funds seized by the government from the

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  USW Chase accounts, the government has established probable

  cause that $350,290.87 is subject to forfeiture and may be

  retained under seizure.      Accordingly, the court adopts

  Magistrate Judge Azrack’s R&R to the extent that it finds that

  the government established that there is probable cause that

  $350,290.87 of the funds in the USW Chase accounts are

  forfeitable; however, the court finds that the government has

  not satisfied its burden regarding the remainder of the

  balance of the USW Chase accounts, and orders that those funds

  shall be released.

                                 CONCLUSION


             For the reasons set forth above, Magistrate Judge

  Azrack’s R&R is respectfully adopted in part and modified in

  part.   The court finds that the government has established

  probable cause to continue seizure of $350,290.87 of the funds

  in the USW Chase accounts, but shall release the remaining

  funds to Unalite Southwest promptly.


  SO ORDERED.

  Dated: July 27, 2011
         Brooklyn, New York
                                             ___________/s/____
                                             KIYO A. MATSUMOTO
                                             United States District Judge
                                             Eastern District of New York




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